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                            Declaration of Isabel Quintero-Flores
                               (Pursuant to 28 U.S.C. § 1746)

      I, Isabel Quintero, hereby declare and state as follows:

   1. I am over the age of 18 and a resident of San Bernardino County, California. I have

      personal knowledge of the facts set forth in this declaration and could and would testify

      competently to those facts if called as a witness.

   2. I am a cis-woman, she/her, a daughter of Mexican immigrants. First generation here in

      the United States and first in my family to finish college. I attended Cal State San

      Bernardino where I earned a B.A. and an M.A. in English and English Composition,

      respectively.

   3. Since 2013, when I sold my first book, I have published five books: Gabi, a Girl in

      Pieces, Ugly Cat and Pablo, Ugly Cat and Pablo and the Missing Brother, Photographic:

      The Life of Graciela Iturbide, and My Papi has a Motorcycle. The books have been

      translated into multiple languages and Gabi, a Girl in Pieces was optioned for a

      television series. In addition, my works have been included in several anthologies

      alongside celebrated authors, addressing topics ranging from celebrating our bodies in

      The (Other) F Word: A Celebration of the Fat and Fierce to the forthcoming ABsolutely

      Normal, and I currently have five more books under contract—a paranormal trilogy, a

      young adult novel, and a picture book, all with Kokila, an imprint of Penguin Random

      House. In addition to books for young people I’ve published poems and essays.

   4. Each of my books has won multiple awards and honors, received stars in industry

      journals, and has been on several best of lists, such as NYPL, NYT, NPR, Booklist,

      Publisher’s Weekly, and more. The awards include: The Tomas Rivera Award (twice),

      William Morris Award for Debut Novel, Pura Belpré Honor, The Boston-Globe Horn




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      Book Award, the California Book Award, The John and Patricia Beatty Award from the

      California Library Association, the Paterson Prize, and many others. My latest book, My

      Papi Has a Motorcycle, was chosen by Dolly Parton’s Imagination Library organization

      for the last two years.

   5. My novel Gabi, a Girl in Pieces, Cinco Puntos Press (now an imprint of Lee & Low),

      published in 2014, is about:

          a. It is her senior year of high school and Gabi Hernandez, a light skinned, Chicana,

             fat girl, is trying to figure out who she is and what kind of woman she wants to

             become. Her father is addicted to meth, her mother has strict, but conflicting,

             expectations of what it means to be a woman, and her friends are going through

             their own moments of growth and crisis. Gabi finds her voice in the diary she

             keeps and eventually through the poems she writes.

          b. The book deals with tough, but real issues such as sex, drug addiction, rape,

             family rejection, friendship, teen pregnancy, love (familial, platonic, romantic),

             body issues, and societal expectations. These are all issues that I confronted as a

             teen, and also that many teens continue to confront.

   6. Gabi, a Girl in Pieces was awarded: The California Book Award Gold Medal, the

      William C. Morris Award for Debut Young Adult Book, The Tomas Rivera Award, the

      Paterson Prize, Amelia Bloomer Book List and other prizes. Lists include: Booklist Best

      Books of the Year 2014, Kirkus Reviews Best Books of the Year 2014, 2015 YALSA

      Best Fiction for Young Adults, 2015 YALSA Quick Pick for Reluctant Young Adult

      Readers, Top 10 Selection 2015 Américas Award Commended Title, Best Book of the

      Year School Library Journal, a Junior Library Guild Selection, the NYPL 125 Books We




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      Love For Teens, among other lists. It is featured on the Smithsonian Asian Pacific

      American Center’s diverse book initiative, BookDragon, the CTA (California Teacher’s

      Association) chose it for their California Reads List for the 2016/2017 school year, and

      has been included in state books lists such as the Texas Library Association’s Tayshas

      High School Reading List for the State of Texas, and many other lists. Gabi, a Girl in

      Pieces was also given multiple starred reviews in Kirkus, Booklist, and Publisher’s

      Weekly. The book has been featured in many podcasts and on public radio including a

      feature on NPR. Gabi is also taught at high schools and colleges around the world. I think

      the most important accolades have come from the hundreds of emails, direct messages,

      letters I’ve received, and conversations I’ve had that tell me about the impact my book

      has had on someone’s life. The one that always gets me is when a teen tells me how

      much the book means to them because they have a parent who suffers from addiction and

      that they’ve felt alone too, and that Gabi showed them they weren’t alone. It never fails

      that I visit a high school and young women tell me how much their mom is like Gabi’s

      (young and old people of all cultures have told me this) and how they’ve never seen a

      character like them in a book until they read my book.

   7. Gabi, a Girl in Pieces is about finding your own way and strength despite cultural,

      societal, and patriarchal expectations and limitations. It is about saying, “It’s okay if I

      grow differently than my parents, or I want something different. It doesn’t make me bad

      or inadequate, just like being fat doesn’t make me bad or inadequate. It’s okay to use my

      voice to advocate for myself and my loved ones, that doesn’t make me bad or

      troublesome. The book is about loving yourself because you are worth loving however

      you choose to live your life.”




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   8. Growing up I always felt alone. Like Gabi, my dad suffered from addiction when I was

      her age. I never told anyone because it was something you didn’t talk about out loud. The

      older I got the more I learned how many other people had gone or were going through

      that same experience, and other experiences that we were taught to feel shame about.

      Sexuality, our bodies, and for people like Gabi and her friends, their culture were among

      those things that we were supposed to feel shame about. I remember feeling shame

      because I thought about sex or wanted to make out with people, and when I talked to

      female friends about this they also had the same experience. I have also struggled with

      how I feel about my weight for most of my life but when I learned to love my body at any

      size I was able to allow new experiences—I just wish it hadn’t taken me so long. Lastly, I

      am also Chicana, like Gabi, and that meant that at school my culture or its significance to

      American history or literature, was completely omitted. It was as if Mexican people

      didn’t exist. My senior year, our school librarian, Mr. Perez, recommend Rain of Gold by

      Victor Villaseñor, an epic generational story that takes place, partly, in Corona,

      California, where I am from. It would be the first time I read a book by someone with a

      similar last name as mine. But it wasn’t until college when I read Michele Serros that I

      realized I could be a writer. That there were people out there like me writing our stories. I

      often think about how different my life would have been if I had encountered writers like

      Serros and Villaseñor earlier in my schooling. How much more connected and invested

      would I have felt in school? How much earlier could I have been working on my craft?

      So, I wrote Gabi, a Girl in Pieces in the hopes that the young people who would read it

      would realize they weren’t alone. That the feelings they had were natural, that other




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      people in the world struggled through being the child of an addict, that yes, loving your

      body and yourself isn’t only for thin or straight sized people, or straight white people.

   9. At the beginning, I didn’t think Gabi would sell beyond my immediate community. Of

      course, I hoped and dreamed, but didn’t think that people would love her like they had.

      Even then, however, my hope was that whoever read the book, connected with my

      intention and they wouldn’t feel so alone in their experiences. Now that I’ve seen how

      much my readers have connected with Gabi and her friends and family, I know that what

      I’ve written is more meaningful that I had ever imagined it would be. I feel proud of the

      book I’ve written and with every message I receive from readers, I feel prouder.

   10. My book is a very appropriate book for students, especially high school students because

      despite the fact that adults like to reimagine their adolescence as an innocent and

      uneventful time, many young people’s lives are either exactly like Gabi’s or similar to

      her or one of her friends. For example, my teenage years were very much like Gabi’s, the

      book is semi-autobiographical. The fact that many teens live like this in real life, makes it

      more than appropriate to read in a book. Taking the book away doesn’t make their lives

      disappear, it just reinforces how bent on infantilizing teenagers adults are and how little

      respect they have for their lived experiences.

   11. I think that, like many of the required books in school curriculums, my book is a teaching

      tool. It is useful in teaching: literary themes and terms, critical thinking, poetry, form,

      genre, writing from real life, diversity, female protagonist, and even in its use of so-called

      foul language, teachers can use it to talk about the importance of word choice. There are

      many lesson plans created by teachers who use my book in their classes across the

      country, and the opportunities to use the book in the classroom are endless. As for the




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       literary value of Gabi, a Girl in Pieces, I think that’s often subjective, as we can see by

       the lack of diversity in school curriculums, even now in 2022. Obviously, I think that it is

       part of the larger canon of American young adult, as well as the canon of Chicanx young

       adult literature. My influences for the book range from Michele Serros, Sandra Cisneros,

       to Sylvia Plath, Shakespeare, and even Jeff Kinney. Like most authors, I take my work

       seriously and try to be as intentional and honest as I can with my work because I know

       who my audience is. There are many things at stake for me when I write a book because

       there are still so few books published by Chicanx writers and those of us who do get

       published have a responsibility to our readers and our communities. Because of that I feel

       that the literary value of my work is reflected not only in the awards and accolades it has

       received, but with educators and librarians across the country who continue to use it in

       their classrooms, part of their whole campus reads programs, in library programming, and

       in community literary programs.

   12. Here are a few emails and messages I have received, and though there are only four here,

       I have many more that are similar:


April 7, 2021 (email from a high school student)

“Dear Ms. Isabel Quintero,

My name is ________________ and I am a student at L______ high school. I read your novel Gabi,
A Girl In Pieces, in my honors English class. I was very fond of every chapter in this book
immensely. When I read the pages, I felt as if I was alongside Gabi living her everyday life. Her life
and experiences were authentic and relatable. The writing made me feel as though it was a friend
that was telling me about what they're going through.

The part I related to the most was when she was reading the poem about her grandmother. She
explains in her poem that she was glad when her grandmother passed away because she wouldn't
have the pain anymore of not remembering. I relate to this because in the last months of my
grandmother's life she was in a tremendous amount of pain. She was stuck all day long in a hospital
bed, she didn't eat much and she didn't smile anymore. Cancer, diabetes, and blood clots were
draining her life away. My grandmother was no longer the person I remember from childhood. Just
like Gabi, I was heartbroken to see her go. On the other hand thankful when she passed away
because it meant she would suffer no longer.




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Another way I understand and comprehend Gabi is because we have the same relationship with our
Hispanic mothers. I believe that every teenage girl has a love-hate relationship with their mom. It
was reassuring to know I'm not the only one. Gabi also had a way of explaining feelings that i've had
and never been able to explain in words.

I have a few questions. First, where were you when you decided to write this novel ? Second, how
do you yourself relate to Gabi ? Third and final question, how did you decide to format the novel in
journal entries? This has been the most cherished and personal book I've read so far in my
highschool experience.

I would like to invite you to L_____ High School to talk about your novel Gabi, A Girl In Pieces.
L______ high school is a place that teaches over 3,000 students a day. We are a public school that
has students of all races and ethnicities. I believe that the topic in the novel is relatable to every
single student. Drug abuse, teenage pregnancy, abortion, love, school, morals, and religion are all
topics relevant to the students that go to L_____ high school. A POC women author like yourself
would be very inspiring to the other POC students and women. Having a successful author come
and speak to a public school where there are many low-income students could be a push for
students that need it . Your words touched me, and I have faith that your writing will reach the hearts
of the L_____ high students.”


December 7, 2021 (email from a high school student)

“Dear Isabel Quintero,

I have recently read your book Gabi, a Girl in Pieces . Your book was very funny! and inspiring to
me. It was spectacular and had very good settings, conflicts, and characterization. You gave the
characters great characterization that makes me understand them well. I liked how the book had
jokes, drama and curses because it made it feel realistic and understandable and it got me
interested in it. Something else I liked about the book is that it had spanish words in it and I liked
how you included poems and letters in the book which gave a stunning effect to the book. I also
LOVED how you included Mexican Spanish words and foods that remind me of my country. It was a
book I related to because I'm also a daughter of Mexican immigrants and it was an inspiring book
that had a lot of meaning to it. My reasons for my opinions is that the book had so much going on, it
talks about how Gabi experiences many different things that she goes through. A character I related
to is Gabi because she dealt with drama and in situations she is indecisive and doesn’t know what to
do or say. Gabi had struggles in high school and I related to her because high school can be difficult.
Also, Gabi has friends that surround her and was there for her. I have friends that are supportive and
good to be around. My favorite part of the book is the bus scene where Gerorgina and Gabi were
calling each other names and that was my favorite part because it was a hilarious part that reminded
me of my friends and childhood. Questions I have about this book: Was her parents still harsh to
Gabi? Does this book contribute to only mexican people or others? I enjoyed reading your book and
I expect to read more of your books! Thank you for your time and I hope you enjoyed my letter.

Sincerely,
G____ A_____




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